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                             EXHIBIT 25
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                                                                               Sanctions List Search
      Specially Designated Nationals and Blocked Persons list ("SDN List") and all other sanctions lists administered by OFAC, including the Foreign Sanctions Evaders List, the Non-SDN Iran
      Sanctions Act List, the Sectoral Sanctions Identifications List, the List of Foreign Financial Institutions Subject to Correspondent Account or Payable-Through Account Sanctions and the Non-SDN
      Palestinian Legislative Council List. Given the number of lists that now reside in the Sanctions List Search tool, it is strongly recommended that users pay close attention to the program codes
      associated with each returned record. These program codes indicate how a true hit on a returned value should be treated. The Sanctions List Search tool uses approximate string matching to
      identify possible matches between word or character strings as entered into Sanctions List Search, and any name or name component as it appears on the SDN List and/or the various other
      sanctions lists. Sanctions List Search has a slider-bar that may be used to set a threshold (i.e., a confidence rating) for the closeness of any potential match returned as a result of a user's search.
      Sanctions List Search will detect certain misspellings or other incorrectly entered text, and will return near, or proximate, matches, based on the confidence rating set by the user via the slider-bar.
      OFAC does not provide recommendations with regard to the appropriateness of any specific confidence rating. Sanctions List Search is one tool offered to assist users in utilizing the SDN List
      and/or the various other sanctions lists; use of Sanctions List Search is not a substitute for undertaking appropriate due diligence. The use of Sanctions List Search does not limit any criminal or
      civil liability for any act undertaken as a result of, or in reliance on, such use.

      Download the SDN List                                                         Sanctions List Search: Rules for use                                                          Visit The OFAC Website

      Download the Consolidated Non-SDN List                                                                                                                                            Program Code Key


    Details:


          Type:                        Entity                                                              List:                         SDN
          Entity Name:                 BENEVOLENCE INTERNATIONAL FOUNDATION                                Program:                      SDGT
                                                                                                           Remarks:



    Identifications:

       Type                         ID#                                                Country                                 Issue Date                              Expire Date
       US FEIN                      XX-XXXXXXX


    Aliases:

       Type                         Category                       Name
       a.k.a.                       strong                         AL BIR AL DAWALIA
       a.k.a.                       weak                           BIF
       a.k.a.                       strong                         BIF-USA
       a.k.a.                       strong                         MEZHDUNARODNYJ BLAGOTVORITEL'NYJ FOND


    Addresses:

       Address                                                                         City                          State/Province                Postal Code                   Country
       8820 Mobile Avenue, 1A                                                          Oak Lawn                      IL                            60453                         United States
       (Formerly located at) 20-24 Branford Place, Suite 705                           Newark                        NJ                            07102                         United States
       (Formerly located at) 9838 S. Roberts Road, Suite 1-W                           Palos Hills                   IL                            60465                         United States
       P.O. Box 548                                                                    Worth                         IL                            60482                         United States
       Bashir Safar Ugli 69                                                            Baku                                                                                      Azerbaijan
       69 Boshir Safaroglu St.                                                         Baku                                                                                      Azerbaijan
                                                                                                                                                                                 Bosnia and
                                                                                       Sarajevo
                                                                                                                                                                                 Herzegovina
                                                                                                                                                                                 Bosnia and
                                                                                       Zenica
                                                                                                                                                                                 Herzegovina
       3 King Street, South Waterloo                                                   Ontario                                                     N2J 3Z6                       Canada
       P.O. Box 1508 Station B, Mississauga                                            Ontario                                                     L4Y 4G2                       Canada
       2465 Cawthra Rd., #203, Mississauga                                             Ontario                                                     L5A 3P2                       Canada
                                                                                       Ottawa                                                                                    Canada
                                                                                       Grozny                        Chechnya                                                    Russia
       91 Paihonggou, Lanzhou                                                          Gansu                                                                                     China
       Hrvatov 30, 41000                                                               Zagreb                                                                                    Croatia
                                                                                       Makhachkala                   Daghestan                                                   Russia
                                                                                       Duisi                                                                                     Georgia
                                                                                       Tbilisi                                                                                   Georgia
                                                                                       Nazran                        Ingushetia                                                  Russia
       Burgemeester Kessensingel 40                                                    Maastricht                                                                                Netherlands
       House 111, First Floor, Street 64, F-10/3                                       Islamabad                                                                                 Pakistan
       Azovskaya 6, km. 3, off. 401                                                    Moscow                                                                                    Russia
       P.O. Box 1055                                                                   Peshawar                                                                                  Pakistan
       Ulitsa Oktyabr'skaya, dom. 89                                                   Moscow                                                                                    Russia
       P.O. Box 1937                                                                   Khartoum                                                                                  Sudan
       P.O. Box 7600                                                                   Jeddah                                                      21472                         Saudi Arabia
       P.O. Box 10845                                                                  Riyadh                                                      11442                         Saudi Arabia
                                                                                       Dushanbe                                                                                  Tajikistan
                                                                                                                                                                                 United Kingdom
                                                                                                                                                                                 Afghanistan
                                                                                                                                                                                 Bangladesh
https://sanctionssearch.ofac.treas.gov/Details.aspx?id=7321                                                                                                                                                       1/2
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                                                                                                                Bosnia and
                                                                                                                Herzegovina
                                                                 Gaza Strip                                     undetermined
                                                                                                                Yemen


                                                                                                                               Back


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                                                         Non-SDN List last updated on: 12/14/2020 12:44:01 PM




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